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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,

  v.                                                   Case No. 23-cr-80101-AMC

  DONALD J. TRUMP, et al.

                Defendants.


                   PRESS COALITION MOTION REGARDING THE
               ARRAIGNMENT OF FORMER PRESIDENT DONALD TRUMP

         Pursuant to Local Rules 7.1 and 77.1, a coalition of local and national news media

  organizations (the “Press Coalition”) that continue to cover the federal criminal proceedings in

  the above-referenced matter respectfully submit this motion regarding access to the arraignment

  of former President Donald J. Trump.1

         As the Court is aware, this is the first federal indictment ever brought against a former

  President of the United States. The American public’s interest in this case is beyond

  exaggeration. As the Honorable Magistrate Judge Bruce E. Reinhart explained when unsealing

  documents related to the FBI’s search warrant for documents at Mar-a-Lago, this case presents



  1
    The coalition includes: Cable News Network, Inc., Advance Publications, Inc., American
  Broadcasting Companies, Inc. d/b/a ABC News, The Associated Press, Bloomberg L.P., CBS
  Broadcasting, Inc. o/b/o CBS News, CMG Media Corporation, Cox Enterprises, Inc. d/b/a The
  Atlanta Journal-Constitution, Dow Jones & Company, Inc., publisher of The Wall Street Journal,
  The E.W. Scripps Company, Fort Myers Broadcasting Company, Gray Media Group, Inc., Los
  Angeles Times Communications LLC, publisher of The Los Angeles Times, the McClatchy
  Company, LLC d/b/a the Miami Herald, National Public Radio, Inc., NBCUniversal Media, LLC
  d/b/a NBC News, The New York Times Company, Orlando Sentinel Media Group, publisher of
  the Orlando Sentinel, POLITICO LLC, Radio Television Digital News Association, Reuters
  News & Media Inc., Sun-Sentinel Company, LLC, publisher of the South Florida Sun Sentinel,
  TEGNA Inc., Telemundo Network Group LLC d/b/a Noticias Telemundo, Univision Networks
  & Studios, Inc., WP Company LLC d/b/a The Washington Post, and WPLG, Inc.
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  issues of an “unprecedented” and “intense public and historical interest.” See In re Sealed

  Search Warrant, 622 F. Supp. 3d 1257, 1260 (S.D. Fla. 2022). Magistrate Judge Reinhart

  further aptly noted that “[i]t is a foundational principle of American law that judicial proceedings

  should be open to the public.” Id. at 1265.

            Considering the exceptional and historic nature of this case, the Press Coalition

  respectfully makes the following two requests:

            First, the coalition requests that the Court permit a limited number of photographs and

  videorecordings in the courtroom and/or the outside corridor before the arraignment currently set

  for 3:00 p.m. on Tuesday, June 13, 2023. While this request seeks relief not permitted in

  ordinary cases, Local Rule 77.1 provides judicial discretion to permit limited photographs during

  “special proceedings, as approved by a Judge of this Court.” And the special and historic nature

  of this case warrants, at the very least, a limited, non-disruptive visual record before the hearing

  begins.

            Second, the coalition asks that the Court, immediately following the arraignment

  tomorrow and in future proceedings in this case, release to the public the recordings that will be

  made with the Court’s own audio recording technology. The unprecedented and historic nature

  of these proceedings warrants same-day access to these recordings. Indeed, in a series of rulings

  in favor of the public’s and press’s First Amendment rights to attend criminal court proceedings,

  the Supreme Court explained that “a presumption of openness inheres in the very nature of a

  criminal trial under our system of justice.” Richmond Newspapers, Inc. v. Virginia, 448 U.S.

  555, 573 (1980). As the Court noted, an open trial “provid[es] an outlet for community concern,

  hostility, and emotion.” Id. at 571. “When the public is aware that the law is being enforced and

  the criminal justice system is functioning, an outlet is provided for the[] understandable reactions




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  and emotions [to alleged criminal acts].” Press-Enterprise Co. v. Superior Court, 464 U.S. 501,

  509 (1984).

          Tuesday’s first appearance by Mr. Trump warrants contemporaneous access to the

  record of that hearing. While written transcripts of criminal proceedings are made available to

  the public, they are not a timely substitute for a contemporaneous audio record. Federal courts in

  high-profile cases like this one frequently record and release same-day audio recordings. C.f.

  Covering Criminal Trials – Journalist’s Guide, United States Courts,

  https://www.uscourts.gov/statistics-reports/covering-criminal-trials-journalists-guide#exhibits

  (noting that “[i]n high-profile cases, courts may work with the parties to make extra copies of

  exhibits that the news media can review, or the court may decide to post exhibits on its

  website”). The District of Columbia Circuit Court, the Third Circuit Court of Appeals, the

  Seventh Circuit Court of Appeals, the Eighth Circuit Court of Appeals, and the Federal Circuit

  Court of Appeals (among others) place same-day audio of oral arguments and hearings online.

  In high-profile cases, the U.S. Supreme Court frequently releases same-day (or soon thereafter)

  audio recordings of proceedings.2 And in the interest of speed and accuracy, some courts will

  even live-stream high-profile proceedings.3




  2
    Following oral arguments in Obergefell v. Hodges, for example, the Supreme Court provided a
  public transcript within 90 minutes. See
  https://www.supremecourt.gov/publicinfo/press/pressreleases/pr_03-05-15. The Court did
  likewise in Bush v. Palm Beach Cnty. Canvassing Bd., 531 U.S. 70 (2000), and Bush v. Gore,
  531 U.S. 98 (2000), as well as Citizens United v. Fed. Election Comm’n, 130 S. Ct. 876 (2010).
  3
    See https://www.uscourts.gov/statistics-reports/federal-court-media-basics-journalists-
  guide#recording (noting that the Second and Ninth Circuits will livestream certain, high-profile
  events). Some Circuits, such as the Third Circuit, also use YouTube Channels to either live-
  stream or later post video or audio recordings of proceedings. See, e.g.,
  https://www.youtube.com/channel/UCLSXp4JMYiFc7BHD_ln3d-w.


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         This is a case of exceptional public interest to the entire country and beyond. The

  judiciary’s dedication to open and transparent courts takes on added significance in historical

  proceedings such as this, where the public demands full and complete knowledge of what

  transpired to understand the government’s decision to exercise its prosecutorial power over

  Mr. Trump.

         The need for immediate audio recordings is further heightened by the tense political

  atmospherics of this case. Because Mr. Trump has alleged that this entire case is an illegitimate

  witch hunt, the actions of the judiciary, prosecution, and defense will receive exceptional

  scrutiny, and any informational vacuum will be filled with wild speculation and conjecture.

  Complete transparency—in the form of swift availability of audio recordings—will both ensure

  the integrity and legitimacy of the case and keep Americans informed about this critically

  important matter.

         For the foregoing reasons, the Press Coalition asks the Court both to permit limited, pre-

  hearing photographs and videorecordings and to deploy its integrated audio equipment to record

  and release same-day official audio recordings of the proceedings in this case, beginning with the

  arraignment currently scheduled for June 13, 2023.

                      CERTIFICATION OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rules 7.1(b)(2) and 88.9(a), undersigned counsel certifies that on June

  12, 2023, they made reasonable efforts to confer via email with counsel for the Government and

  counsel for Mr. Trump regarding the relief requested in this motion. Counsel for the

  Government responded that the Government takes no position and defers to the Court. Counsel

  for Mr. Trump did not respond with their position.




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   Dated: June 12, 2023      Respectfully submitted,

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                             Orlando Sentinel Media Group, publisher of the Orlando
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of June 2023, I caused true and correct copies of the

  foregoing to be served via ECF and by email and U.S. Mail First Class on the following:

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